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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF NEVADA

SHIKEMA         WEST         and    KIMBERLY Case No. 2:18-cv-00716-JAD-EJY
HARDING,

               Plaintiffs,                          STIPULATION AND PROPOSED ORDER
                                                    FOR DISMISSAL WITH PREJUDICE OF
vs.                                                          ENTIRE ACTION

GENUINE PARTS COMPANY, a Nevada
Company; DOES I through XX; DOES
CORPORATION I through XX; ROE
EMPLOYEES I through X,inclusive,

               Defendants.


       The undersigned parties, by and through their counsel of record, hereby stipulate and agree

pursuant to Federal Rule of Civil Procedure 41(a)(1(A)(ii) that the above-entitled mater is

DISMISSED WITH PREJUDICE in its entirety. Plaintiff and Defendant have settled this matter

and are to bear their own costs, fees, and expenses hereto.

      IT IS SO STIPULATED.
Dated this    id
               day 2f November, 2019.               Dated this   /   day of
                                                                           LIe   41
                                                                             4241/460
                                                                                   045
                                                                                       2019.

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                       ORDER FOR DISMISSAL WITH PREJUDICE

       Pursuant to the Stipulation of Dismissal of the parties, Plaintiff's claims against Defendants

are hereby DISMISSED WITH PREJUDICE. Plaintiff and Defendant are to bear their own costs,

expenses and fees.




                                             IT IS SO ORDERED:



                                             UNITED STATES DISTRICT COURT JUDGE


                                             DATES:




Respectfully Submitted By:



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